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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
     v.                                     )    CRIMINAL NO. 15-10145-RGS
                                            )
DESMOND CRAWFORD                            )


 MOTION FOR TEMPORARY MODIFICATION OF PRE-TRIAL RELEASE CONDITIONS

       Defendant Desmond Crawford hereby moves for the following temporary modification of

his pre-trial release conditions as ordered by Magistrate Judge Bowler on December 14, 2017:

          On May 22, 2018, Mr. Crawford is scheduled to have an MRI, with appointments

beginning at 6:00 am, for which he will need to have his electronic monitoring bracelet removed.

Mr. Crawford is thus requesting that Probation remove his electronic monitor at the end of the

day on May 21, 2018, and he will report back to Probation after the examination is complete on

May 22, 2018, to have the monitor put back on.

                                                      Respectfully submitted,

                                                      DESMOND CRAWFORD,

                                                      By his attorney,

                                                      /s/ William J. Trach
                                                      William J. Trach (BBO# 661401)
                                                      LATHAM & WATKINS LLP
                                                      John Hancock Tower, 27th Floor
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                                       Certificate of Service

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered Participants as identified on the Notice of Electronic Filing (NEF)
on May 15, 2018.

                                                     /s/ William J. Trach




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